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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT

RUSS MCCULLOUGH, et al.,                 :
     Plaintiffs,                         :
                                         :       No. 3:15-cv-01074 (VLB)
v.                                       :       Lead Case
                                         :
WORLD WRESTING                           :
ENTERTAINMENT, INC.,                     :
    Defendant.                           :
                                         :

EVAN SINGLETON and VITO                  :
LOGRASSO,                                :
     Plaintiffs,                         :       No. 3:15-cv-00425 (VLB)
                                         :       Consolidated Case
v.                                       :
                                         :
WORLD WRESTING                           :       July 22, 2018
ENTERTAINMENT, INC.,                     :
    Defendant.                           :



                        MEMORANDUM OF DECISION
          ADOPTING RECOMMENDED RULING ON DEFENDANT’S MOTION FOR
                         SANCTIONS [DKT. NO. 371]

     I.   Introduction

          Now before the Court is the Objection of Plaintiffs Evan Singleton and Vito

LoGrasso to the Recommended Ruling [Dkt. No. 371] on Defendant World

Wrestling Entertainment’s (“WWE’s”) Motion for Sanctions [Dkt. No. 198].

Magistrate Judge Robert A. Richardson heard oral argument on the sanctions

motion on March 2, 2017, and on February 22, 2018 issued a recommendation that

this motion be granted in part. [Dkt. No. 371 at 1, 17]. Shortly after Judge

Richardson issued his recommendation, the Court granted WWE’s Motion for

Summary Judgment [Dkt. No. 330] and instructed the Clerk to terminate Singleton


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and LoGrasso as parties to this action. [See Dkt. No. 374 at 20]. Thus, Judge

Richardson’s recommendation that certain of Plaintiffs’ interrogatory responses

be stricken and that Plaintiffs provide an additional round of supplemental

discovery responses is MOOT. However, Judge Richardson also recommended

that Attorney Konstantine Kyros and his Law Offices pay all of the legal fees that

WWE reasonably incurred in connection with its motion for sanctions. This issue

remains in dispute.

    II.   Background

          On January 27, 2016, WWE served Plaintiffs with interrogatories, to which

Plaintiffs responded on March 7, 2016. [Dkt. No. 122-1 at 11]. The parties met and

conferred regarding these interrogatories and other discovery issues throughout

March 2016. Id. at 11-14. The Court held a discovery conference with the parties

on April 6, 2016, and authorized WWE to file a motion to compel. Id. at 14. WWE

filed its motion to compel on April 20, 2016. [Dkt. No. 122]. The Court granted in

part and denied in part WWE’s motion, and ordered Plaintiffs to supplement

several interrogatories. [Dkt. No. 144]. The Court specifically noted that “[w]here

Plaintiff is unable to identify a statement or speaker in response to an

interrogatory, Plaintiff must state that fact.” Id. On August 8, 2016, WWE filed a

motion for sanctions pursuant to Rule 37 of the Federal Rules of Civil Procedure,

arguing that Plaintiffs failed to comply with the Court’s order in its supplemental

responses to six interrogatories. [Dkt. No. 198]. WWE sought dismissal with

prejudice and the award of attorney’s fees.




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      The Court referred the sanctions motion to Judge Richardson, who issued

his recommendation on February 22, 2018. In his recommended ruling, Judge

Richardson noted that Plaintiffs’ responses to one interrogatory that the Court

ordered Plaintiffs to supplement was essentially unchanged. [Dkt. No. 371 at 7].

Judge Richardson also stated that “[w]hen confronted with their own allegations

taken from their own complaint, plaintiffs simply direct WWE to multiple

documents and assert that the answer to the interrogatory is located somewhere

within these documents, or the plaintiffs refer vaguely to a public statement

without providing any specifics to WWE.” Id. at 11. For example, in response to

an interrogatory asking Plaintiffs to:

      Identify each and every ‘deceptive public statement [ ] and published article
      [ ]’ of or by WWE which You contend ‘downplayed known long-term health
      risks of concussions to Plaintiff[s]’, as alleged in ¶¶ 222 & 230 of the
      Second Amended Complaint,

[Dkt. No. 198-4 at 9], Plaintiffs referred WWE to

      ‘Dr. Maroon’s public statements regarding risks of concussions,’ the entire
      book Head Games written by Chris Nowinski, and congressional testimony
      of Stephanie McMahon Levesque, which Judge Bryant had already
      admonished the Plaintiffs for mischaracterizing.
[Dkt. No. 371 at 10-11].

      Judge Richardson rejected Plaintiffs’ argument that directing WWE to

previously supplied documents or to records in WWE’s possession complied

with Rule 33(d). He noted instead that “Rule 33 does not permit a party to avoid

specific responses to interrogatories by reference to undifferentiated masses of

documents,” and that the Plaintiffs had an obligation to “point to specific

statements in the supplied documents that are responsive to the specific

inquiry.” Id. at 13.

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      Judge Richardson was also troubled by Plaintiffs’ decision to “steer WWE

to random publications and documents with little specificity or guidance” when

WWE sought information regarding Plaintiffs’ specific allegation that WWE

affirmatively stated that “WWE wrestlers with diagnosed brain trauma did not

receive these injuries as a result of wrestling for WWE.” Id. at 13 (citing Pl.

Second Am. Compl. ¶¶ 178, 185). He noted that after reviewing the briefing and

hearing oral argument, Plaintiffs appeared “unable to find documentation to back

up their assertion.” [Dkt. No. 371 at 13]. They therefore should have stated that

they were unable to identify a statement or speaker, as required by the Court’s

Order on WWE’s Motion to Compel. Id. (referring to Dkt. No. 144).

      In addition to recommending that Plaintiffs supplement these deficient

interrogatory responses, Judge Richardson reminded the parties that “[t]he Court

has admonished plaintiffs’ counsel on several occasions but declined to impose

sanctions after threatening to impose them” and stated that Plaintiffs’ attorney

Konstantine Kyros “has been on notice that plaintiffs need to comply with Court

orders and the Federal Rules of Civil Procedure.” [Dkt. No. 371 at 15].

Accordingly, while Judge Richardson held that the sanction of dismissal was

unwarranted, monetary sanctions were required to “dissuade further abuse of the

discovery process and promote thorough compliance with court orders moving

forward.” Id. at 15, 17.

      Judge Richardson recommended that “Attorney Kyros and his Law Offices

pay all of the legal fees that the defendant reasonably incurred in connection with

this motion for sanctions.” Id. at 17. Judge Richardson then instructed Attorney



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Kyros that the fees were to be paid by his firm and not by his client or subtracted

from “any judgment rendered in this or future related litigation” and that

plaintiffs’ counsel must provide this recommended ruling and any subsequent

ruling related to the motion for sanctions to their clients. Id. at 17-18. Finally,

Judge Richardson stated that “plaintiffs and their counsel are now on notice that

any further noncompliance during the remainder of this litigation may result in

dismissal of the case.” Id. at 18.

           Plaintiffs timely filed an objection to Judge Richardson’s recommended

ruling [Dkt. No. 372], to which WWE responded [Dkt. No. 373].


    III.   Legal Standard

              A. Standard of Review

           “When a pretrial matter not dispositive of a party’s claim or defense is

referred to a magistrate judge to hear and decide” the Court must review timely

objections to the magistrate judge’s recommendation on that nondispositive

issue, and “modify or set aside any part of the order that is clearly erroneous or

contrary to law.” Fed. R. Civ. P. 72(a); see also 28 U.S.C. § 636(b)(1)(A); Local R.

Civ. P. 72.2. “Monetary sanctions pursuant to Rule 37 for noncompliance with

discovery orders usually are committed to the discretion of the magistrate,

reviewable by the district court under the ‘clearly erroneous or contrary to law’

standard.” Thomas E. Hoar, Inc. v. Sara Lee Corp., 900 F.2d 522, 525 (2d Cir.

1990). The heightened “de novo” standard of review for dispositive claims is only

applied to sanctions motions if the “sanction itself can be considered dispositive

of a claim.” Weeks Stevedoring Co. v. Raymond Int’l Builders, Inc., 174 F.R.D.


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301, 303-04 (S.D.N.Y. 1997). The parties agree that because Judge Richardson did

not recommend dismissal of the case, and instead recommended imposing

monetary sanctions, the Court must evaluate his findings and recommendations

using the standard set forth in Rule 72(a).

             B. Rule 37 Sanctions

          “[T]he text of the [Rule 37(b)(2)(A)] requires only that the district court’s

orders be ‘just,’ . . . and . . . the district court has ‘wide discretion in imposing

sanctions under Rule 37.’” S. New England Tel. Co. v. Glob. NAPs Inc., 624 F.3d

123, 144 (2d Cir. 2010) (quoting Rule 37(b)(2)(A) and Shcherbakovskiy v. Da Capo

Al Fine, Ltd., 490 F.3d 130, 135 (2d Cir. 2007)). Additionally, Rule 37(b)(2)(C)

requires the Court to order “the disobedient party, the attorney advising that

party, or both to pay the reasonable expenses, including attorney’s fees, caused

by the failure [to comply with the Court’s discovery order], unless the failure was

substantially justified or other circumstances make an award of expenses

unjust.” Fed. R. Civ. P. 37(b)(2)(C). The disobedient party bears the burden of

proving that his failure was substantially justified or that it would be unjust for

some other reason to impose compensatory monetary sanctions. Fed. R. Civ. P.

37(b)(2) advisory committee’s note (1970).

    IV.   Discussion

          Plaintiffs ask the Court to reject Judge Richardson’s Recommended Ruling

because: (1) the Court’s discovery order improperly required Plaintiffs to

specifically identify statements or speakers in their interrogatory responses; (2)

Plaintiffs intend to further supplement their responses so no monetary sanction



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is required; and (3) Judge Richardson unfairly singled out Attorney Kyros and his

Law Offices for monetary sanctions. None of these arguments succeed in

showing that Judge Richardson’s ruling was clearly erroneous or contrary to law,

or that Plaintiffs’ failure to comply with the Court’s discovery order was

substantially justified or that the imposition of sanctions would be unjust.

      Plaintiffs argue first that the Court’s ruling on WWE’s motion to compel and

Judge Richardson’s recommended ruling were “inherently prejudicial” and

represented an “abuse of discretion” because they restricted permissible

interrogatory responses to “specific people” or “specific statements,” and a

fraud by omission claim does not require such specificity. [Dkt. No. 372 at 4-5].

This argument is wholly without merit, because the interrogatories at issue called

for specificity. When an interrogatory requests that the Plaintiffs identify “each

and every ‘deceptive public statement’” or that the Plaintiffs “identify in detail

who at WWE specifically stated ‘that WWE wrestlers with diagnosed brain trauma

did not receive these injuries as a result of wrestling for WWE,’” the interrogatory

requires the Plaintiffs to identify statements or speakers or to state that such

information is unknown. Responding vaguely that an individual made public

statements, without providing these statements, is both non-responsive, contrary

to the essential purposes of discovery, and a violation of the Court’s ruling on

Defendants’ motion to compel.

      To the extent Plaintiffs take issue with the Court’s instruction to state when

a specific statement or speaker was unknown in its responses, the Court notes

that Judge Richardson was tasked with deciding whether Plaintiffs’



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supplemented interrogatory responses complied with the Court’s order on

WWE’s motion to compel. It was not determining whether the initial discovery

order was correct. If Plaintiffs believed that the Court erred when it instructed

Plaintiffs to indicate when a specific speaker or statement was unknown,

Plaintiffs’ only recourse was to move for reconsideration pursuant to Federal

Rule of Civil Procedure 60(b) within a reasonable time. See Fed. R. Civ. P. 60(b)-

(c). Plaintiffs did not avail themselves of this option, and the Court cannot

imagine circumstances under which a motion for reconsideration of the

discovery order would have succeeded.

      Plaintiffs argue second that they should not be sanctioned because they

intend to supplement their interrogatory responses, and they suggest that this

intention is a natural consequence of their “affirmative duty” to supplement.

[Dkt. No. 372 at 6]. A party is required to supplement his discovery responses

“(A) in a timely manner if the party learns that in some material respect the

disclosure or response is incomplete or incorrect, and if the additional or

corrective information has not otherwise been made known to the other parties

during the discovery process or in writing; or (B) as ordered by the court.” Fed.

R. Civ. P. 26(e). Plaintiffs do not present a situation in which they uncovered new

information and are voluntarily supplementing responses to apprise WWE of this

information. Rather, the Court ordered Plaintiffs to supplement their patently

deficient discovery responses, the resulting supplemental responses were then

judged deficient, and Judge Richardson recommended that the Court order

further supplementation as a sanction for failure to comply with the original



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discovery order. Plaintiffs’ intent to supplement is therefore irrelevant to the

issue now before the Court: whether Judge Richardson clearly erred when he

found that Plaintiffs violated the discovery order.

       Attorney Kyros next takes issue with the sanction of attorney’s fees. He

argues that Judge Richardson’s ruling “fails to explain the basis for the fine

specifically imposed against Attorney Kyros and his Law Offices in this particular

matter.” [Dkt. No. 372 at 11]. To the contrary, Judge Richardson cited several

examples in which the Court had previously chastised Attorney Kyros for failing

to comply with the Court’s orders and the Federal Rules of Civil Procedure. [See

Dkt. No. 371 at 15-16 n.6]. Judge Richardson’s determination that an additional

warning would not be sufficient to deter future abuses was therefore not clearly

erroneous.

      Finally, Attorney Kyros suggests that a monetary sanction is inappropriate

because Defendants failed to meet and confer before filing the motion for

sanctions. While Rule 37(a) requires that the parties confer in good faith in

attempt to resolve their discovery dispute prior to filing a motion to compel, Rule

37(b) contains no such requirement. This is undoubtedly because such

negotiations will already have taken place prior to the filing of a motion to

compel, and because a failure to comply with an order compelling discovery is

not only a serious breach of an obligation to the opposing party; it is a serious

breach of an obligation to the Court and to the judicial process. The imposition

of Rule 37(b) sanctions, despite the movant’s failure to meet and confer before

seeking sanctions, is therefore not contrary to law.



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    V.   Conclusion

         For the foregoing reasons, the Court ADOPTS the Recommended Ruling on

Defendant’s Motion for Sanctions [Dkt. No. 371], as Judge Richardson’s

conclusions are neither clearly erroneous nor contrary to law. This Order does

not preclude Attorney Kyros and his Law Offices from seeking contribution from

other appearing co-counsel.




                                            IT IS SO ORDERED.



                                            ____/s______________________

                                            Hon. Vanessa L. Bryant

                                            United States District Judge



Dated at Hartford, Connecticut: July 22, 2018




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